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                               UNITED STATES DISTRICT COURT
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                              WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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10          ROBERT J. DERIDER,                             CASE NO. C19-1429 MJP

11                                 Plaintiff,              ORDER GRANTING MOTION TO
                                                           COMPEL
12                 v.

13          JILL F. OSUR et al.,

14                                 Defendants.

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16          This matter comes before the Court on Plaintiff’s Motion to Compel Discovery. (Dkt.

17   No. 17.) The Court, having considered Plaintiff’s Motion, the Response (Dkt. No. 19), and all

18   related papers, GRANTS the Motion. It is therefore ORDERED that within 14 days of this

19   Order, Defendants Jill F. Osur aka Jill Osur-Meyers; Dean Frederick Myers aka Dean Myers;

20   Paul Stewart Haley; Goldline Brands, Inc.; Mediterranean Vineyards LLC; Roundhay Farming,

21   LLC; and Roundhay Partners LLC (“Defendants”) shall fully answer all of the interrogatories

22   propounded by Plaintiff on November 18, 2019; and it is further

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     ORDER GRANTING MOTION TO COMPEL - 1
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 1          ORDERED that by April 3, 2020, Defendants shall produce all documents responsive to

 2   Requests for Production propounded by Plaintiff on November 18, 2019, that have not

 3   previously been produced; and it is further

 4          ORDERED that defendants shall pay Plaintiff’s reasonable expenses, including

 5   attorneys’ fees, that Plaintiff incurred in bringing on this motion. Plaintiff shall have 10 days

 6   from the date of this Order in which to submit an affidavit or declaration establishing the amount

 7   of such expenses and Defendants shall have 10 days after that to contest those expenses.

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 9          The clerk is ordered to provide copies of this order to all counsel.

10          Dated March 26, 2020.



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                                                           Marsha J. Pechman
13                                                         United States District Judge

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     ORDER GRANTING MOTION TO COMPEL - 2
